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 8                         IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-0077-LJO-BAM
11                                Plaintiff,           STIPULATION TO CONTINUE
                                                       SENTENCING
12   v.
13   ROBERT MARTINEZ,
14                                Defendant.
15

16          Defendant, ROBERT MARTINEZ, by and through his counsel of record,
17
     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
18
     through its counsel of record, KIMBERLY A. SANCHEZ, Assistant United States Attorney
19
20 for the Eastern District of California, hereby stipulate that the sentencing in the above-

21 referenced case currently scheduled for Monday, May 22, 2017, at 8:30 a.m. be continued

22
     to Monday, July 24, 2017 at 8:30 a.m. in the courtroom for the Honorable Lawrence J.
23
     O’Neill, District Judge.
24

25          This stipulation is based on good cause since defendant is receiving extensive

26 medical treatment including post-operative therapy and has upcoming surgical procedures.

27
     The government has no opposition to this request.
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          Case 1:13-cr-00077-LJO-BAM Document 200 Filed 05/18/17 Page 2 of 2



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 2
     IT IS SO STIPULATED
 3                                                 Respectfully submitted,
 4
     Dated: May 18, 2017                           /s/ Nicholas F. Reyes
 5                                                 NICHOLAS F. REYES
                                                   Attorney for Defendant
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 7 IT IS SO STIPULATED

 8
 9
     Dated: May 18, 2017                       /s/ Kimberly A. Sanchez
10                                               KIMBERLY A. SANCHEZ
                                                  Assistant U.S. Attorney
11

12                                  ORDER
13 The continuances in this case will not be automatic nor indefinite. The Bureau of

14 Prisons has medical care available. Counsel should consider this to be the last

15 Continuance.

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17 IT IS SO ORDERED.

18      Dated:   May 18, 2017                       /s/ Lawrence J. O’Neill _____
                                           UNITED STATES CHIEF DISTRICT JUDGE
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